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Threats to the integrity of psychological assessment: The misuse of test raw
data and materials

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KEYWORDS

Ethics; evaluator; laws;
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public policy; raw data; test
materials

ABSTRACT

In the practice of psychological assessment there have been warnings for decades by the American
Psychological Association (APA), the National Academy of Neuropsychology (NAN), other associations,
and test vendors, against the disclosure of test raw data and test materials. Psychological assessment
occurs across several different practice environments, and test raw data is a particularly sensitive
aspect of practice considering what it implicitly represents about a client/patient, and this concept is
further developed in this paper. Many times, test materials are intellectual property protected by
copyrights and user agreements. It follows that improper management of the release of test raw
data and test materials threatens the scientific integrity of psychological assessment. Here the matters
of test raw data, test materials, and different practice environments are addressed to highlight the
challenges involved with improper releases and to offer guidance concerning good-faith efforts to
preserve the integrity of psychological assessment and legal agreements. The unique demands of
forensic practice are also discussed, including attorneys’ needs for cross-examination and discovery,
which may place psychologists (and other duly vetted evaluators) in conflict with their commitment
to professional ethical codes and legal agreements. To this end, important threats to the proper use
of test raw data and test materials include uninformed professionals and compromised evaluators. In
this paper, the mishandling of test raw data and materials by both psychologists and other evalua-
tors is reviewed, representative case examples, including those from the literature, are provided, per-
tinent case law is discussed, and practical stepwise conflict resolutions are offered.

The term test data' refers to raw and scaled scores,
client/patient responses to test questions or stimuli, and
psychologists’ notes and recordings concerning client/patient
statements and behavior during an examination. Those portions
of test materials that include client/patient responses are included
in the definition of test data. (p. 13)

For many decades evaluators have wrestled with the
improper release of test raw data and materials that impacts
the integrity of psychological assessments (American
Psychological Association [APA], 1953; Brodzinsky, 1993;
Keith-Spiegel & Koocher, 1985; Otto et al, 2000). One of
the concerns is also the preservation of client/patient rights
across contexts and environments. Knowledgeable access
precludes misinterpretation of findings, test raw data, and
test materials by laypersons, who rarely have the requisite
training, supervision, and experience necessary to meaning-
fully understand them. The ethics of test raw data release,
the exigencies of copyright law, and the violation of user-
vendor agreements for test materials are clearly meant to
protect clients/patients. Our focus, however, is on conduct-
ing assessments; and on threats to the integrity of this prac-
tice, and not on the complexities of client/patient rights to
access such specific materials, which are beyond the scope
of this paper and require separate treatment.

The proper use of test raw data has been outlined by the

Often, test raw data collected are penned onto copy-
righted forms, and these forms, and associated manuals, as
well as computer generated outcomes, are considered test
materials. Proper management of test materials is a separate
matter from test raw data, and both were defined by NAN
specifically (2000, 2003). In addition to using APA’s descrip-
tion of test data, NAN defined test materials in their publi-
cation Test Security: An Update (2003):

According to Code 9.11:

Test materials “refers to manuals, instruments, protocols, and
test questions or stimuli and does not include test data” (as
defined above). (p. 1)

Given the work by NAN, we purposively use the term

American Psychological Association [APA] (2017) and the
National Academy of Neuropsychology [NAN] (2000, 2003),
and through other learned treatises. The APA’s ethics code
(2017) includes the following definition:

test raw data to clearly delineate it from fest data or raw
data because often the terms have contributed to confusion
regarding what are test materials. Client/patient responses to
queries generate Os, 1s, As, Bs, and Cs, as well as narrative

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responses, which are categorized as test raw data. Test mate-
rials tend to be a separate matter, and include protocols,
standardized query booklets, computer-generated reports,
and, in some cases, even the instrument and/or test? itself as
well as the manual. Although rare by comparison to the
bulk of tests used, there are tests such as verbal learning
tests and visual recognition tests (Delis et al. 2017; Meyers
& Meyers, 1995; Schmidt, 1996) in which test raw data and
test materials are interwoven (Axelrod, 2014; Bush, 2018,
pp. 127-129). But that does not hold in every case with ver-
bal learning tests (Schmidt, 1996). We acknowledge that this
is an important matter that requires attention and consistent
treatment, envision that it may well be the focus of a separ-
ate work to align/justify practice guidelines and ethical
standards (APA, 2017; NAN, 2000, 2003), and would even
suggest the term hybrid as one term for designating these
test raw data/materials. Despite its import, and the breadth
of potential special implications for the field of psychological
assessment, this matter is one, among many discussed, that
meets at the crossroads of this paper’s central focus. As
such, these hybrid test raw data/materials will be discussed
as a future area of focus in this paper’s concluding remarks.
Test raw data and their proper use are anchored in the
practice of replicating scientific experiments (Kerlinger,
1979). In basic terms, findings produced from test raw data
should in practice, and in theory, be replicable across assess-
ments by stripping away all but the test raw data itself
(Attix, et al., 2007). That is, if the motivation for requesting
the test raw data is based on the scientific endeavor alone. A
reasonably good-faith effort to supply test raw data may be
as simple as preparing a summary. Thus, it might be
reported that on question number one, the answer was “1,”
on question number two the answer was “0,” on question
number three, “2,” and on question six, “zebra.” Such an
approach supposes a collegial, good-faith exchange of test
raw data. Accordingly, no copyrighted forms are produced,
and appropriately trained, supervised, and experienced eval-
uators will be able to input these test raw data and produce
identical results. That is, the receiving evaluator will be able
to replicate the findings from the original evaluator’s work.
The preservation of test materials, intellectual property, is
a well-known legal matter (Kaufmann, 2009; Morel, 2009;
NCS Pearson, Inc. 2021; Psychological Assessment
Resources, Inc., [PAR, Inc.], 2020). Releasing proprietary
test material is subject to specific user agreements and pro-
hibitions, such as, for example, the Q-global® Subscription
and License Agreement (see Appendix A).° Historical state
and federal court decisions have established legal precedents
regarding test raw data and test materials. At this writing
fourteen years have passed since Kaufmann (2009) and
Morel (2009) made many cogent arguments about the
proper management of test raw data and test materials in
the literature of the neuropsychological community. Yet,

"Throughout the psychological assessment literature, the terms instrument and
test are often used interchangeably in the balance of this paper fest will be
used for clarity and simplicity.

3See: https://www.pearsonassessments.com/content/dam/school/global/clinical/
us/assets/q-global/Q-global-License-Agreement.pdf

many of these problems persist to this day. This holds not
only in neuropsychology, but in the wider field of psycho-
logical assessment, and there has been minimal progress
in the practice of law on these matters (Morel, 2009, pp.
642-643, Tables 1 and 2). In fact, later we note that
these challenges are growing ever more present in forensic
neuropsychological practice. Academic, clinical, neuro-
psychological, and forensic contexts/environments serve as
differing examples of the practice of psychological assess-
ment as a discipline, and this breadth speaks to the potential
scope of these problems to one degree or another.

The use of psychological assessment has been repeatedly
clarified and supported as an important scientific tool in the
behavioral sciences through seminal articles (Meyer et al.,
1998; 2001), and the discipline’s utility and validity are
founded, truly anchored on the integrity of the test raw data
and the preservation of test materials. These matters have
been addressed in one difficult debate after another in
response to further intrusions into this scientific enterprise
as demonstrated by the changes in the APA’s 2002 Ethical
standards and code of conduct and the work of NAN (Erard,
2004; NAN, 2003; Rogers 2004). Even so, the struggle has
continued (Ackerman, 2010; Kaufmann, 2009; Morel, 2009).
On one front, such problems may have been spurred in
recent years by cases involving uninformed professionals
practicing psychological assessment. As but one example, in
the laws of Montana there is no vetting process for certain
masters-level practitioners (e.g. Administrative Rule of
Montana § 24.219.1003 (5)*).

(5) A licensed clinical professional counselor or licensed clinical
social worker is qualified to perform psychological assessments
and is not required to demonstrate that the licensee has met the
qualifications set forth? in (1) if the licensee performed
psychological assessments prior to December 25, 2015.

That is, if masters-level providers claim they were per-
forming psychological assessments prior to December 25,
2015, there is no review, whatsoever, of their capacity to
competently perform the tasks involved. Setting aside the
example of Montana, each state has its own unique laws and
rules on these matters, which range from conflicting and
idiosyncratic to consistent and logical when it comes to
interpret matters surrounding access to conducting psycho-
logical assessments by professions outside of psychology.
California, for example, had an Attorney General’s Opinion
from 1984 about Licensed Marriage and Family Therapists
that stated (67 Ops. Cal Atty.Gen. 278):

Marriage, family and child counselors have the statutory
authority to construct, administer and interpret "psychological

“Parenthetically, there will be several representative samples of the challenges
described in this paper from Montana's laws, largely because two out of four
authors live and work there. Thus, the phase often attributed to Mark Twain,
‘Write what you know’, It is also for the fact that addressing each jurisdiction's
laws are well beyond the scope of this paper and would require a paper,
perhaps several, to address such matters. Even so, several other examples will
be offered. For Administrative Rule of Montana § 24.219.1003 (5) see: https://
rules. mt.gov/gateway/RuleNo.asp?RN=24%2E? 1 9%2E 1003#:~-text=24.219,,0f%20the%
20State%200f%20Montana&text=(b)%20a%20signed%20statement%20from,set%
20forth%20in%20ARM%2024.219

italics added for emphasis.
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tests" but to do so only within the course of their practice, when
within their field or fields of competence as established by
education, training, and experience, and when such could and
would be used to examine an interpersonal relationship between
spouses or members of a family for the purpose of achieving
more adequate, satisfying and productive marriage and family
adjustments.

Also, see the opinion from 2020 that carries these matters
forward (Griffin, 2020). We note that in this example, the
requisites of “education, training, and experience” exist, and
that there may be a limited application to interpersonal rela-
tionships which differs from what has been described in
Montana. As another example, under Florida Statutes Title
XXX, Ch. 491.003, §§ (8) (c), (9) (c), and (10) (c), the
same recitation is made for counselors, marriage and family
therapists, and social workers:

In addition, this definition may not be construed to permit any
person licensed, provisionally licensed, registered, or certified
pursuant to this chapter to describe or label any test, report, or
procedure as “psychological,” except to relate specifically to the
definition of practice authorized in this subsection.

However, in the same chapter, this recitation is made for
all three licensees (Id., (8), (9), & (10)): “The practice of
clinical social work includes methods of a psychological
nature used to evaluate, assess, diagnose, treat, and prevent
emotional and mental disorders and dysfunctions.” Some
interpret this to mean that these licensees are not only
allowed to conduct psychological assessments, but also
forensic psychological assessments (National Board of
Forensic Examiners [NBFE], 2022 (see Appendix B)). In
Nevada, there was not equivocal language addressing the
practices of Clinical Professional Counselors and Marriage
and Family Therapist, and its language was fairly straightfor-
ward with identical language (under Nevada Revised Statute
(NRS) § 641 A.065 (3) and § 641 A.080 (3)):

The term [practice of] does not include the use of psychometric tests,
assessments or measures, including, without limitation, psychological,
neuropsychological, developmental, neurodevelopmental, cognitive,
neurocognitive, intelligence, achievement, personality or projective
tests.

Then, there is Wyoming, wherein Licensed Addictions
Therapists, Licensed Clinical Social Workers, Licensed Marriage
and Family Therapists and Licensed Professional Counselors
are allowed to perform appraisal, which appears to be syn-
onymous with assessment, evaluation or testing per the follow-
ing (Wyoming Statutes Annotated (WSA) § 33-38-102 (a)):

(ii) “Mental health procedures” means engaging in methods and
techniques which include, but are not restricted to....

(B) “Appraisal” means selecting, administering, scoring and
interpreting instruments designed to assess an individual's
attitudes, abilities, achievements, interests and personal
characteristics and the use of methods and techniques for
understanding human behavior in relation to coping with,
adapting to, or changing life situations;

With these laws, as written, there is no review such as the
one described in California to ensure appropriate “education,
training and experience” in appraisal (WSA § 33-38-106),
and it should be noted that one of the professionals licensed

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under these statutes requires just a bachelor’s degree to satisfy
application requirements (WSA § 33-38-106 (c) {iii)). In
Arizona the applicable statutes governing the behavioral
health professions are ambiguous, in that they provide for
assessment, appraisal and diagnosis of patients, but without
specific reference to how this is to be done. There is nothing
in the applicable statutes or regulations that allows for or pre-
cludes the administration or interpretation of psychological
tests. See Arizona Revised Statutes, Title 32, § 3251 (9) (a), 10
(e), (41) (c), and 12 (a) and Arizona Administrative Code
(Ariz. Admin. Code.), Title 4, Chapter 6, Article 11,
Standards of Practice. Even with these examples as they are,
practically it is well beyond the scope of this article to delin-
eate all the different and often idiosyncratic ways in which
states, in the United States, address who may administer and
interpret psychological tests across the multiple contexts they
are used or could be used for assessment. Our point here is
simply that there are variations in authority and restrictions
across the states, sometimes well-defined and other times
unclear and debatable. An integrated set of rules and regula-
tions would be preferred from a professional practice stand-
point, to achieve some measure of uniformity and maximize
competent and ethical practice, but the long-standing trad-
ition of according power over health matters to the states is a
major and likely impediment to having an integrated set of
rules in this country.

On another front, there are challenges that arise in foren-
sic practice when the boundaries between science and psy-
cho-legal matters become blurred, a matter that has been
articulated by Kaufmann (2009) and by Morel (2009). While
concerns about preservation of the integrity of test raw data
and materials pertain to each of the contexts previously
touched on, both the demand for them, and the consequen-
ces of relinquishing these, are most intense in the crucible
of the forensic environment. Attorneys regularly prevail in
their motions, which may compromise test raw data, test
materials, as well as test security. There are court rulings
that tend to unapologetically set aside legal arguments on
longstanding positions and legal precedents. Such ethical
and legal matters have been addressed by the APA (2017),
the NAN (2003, 2000), and test vendors through user agree-
ments (NCS Pearson, Inc., 2021; PAR, Inc., 2020), and
courts should not lightly disregard these authorities. While
it may appear that demands for test raw data and test mate-
rials meet reasonable legal requirements, these concessions
put ethical professionals in a difficult bind (Borkosky, 2014;
Mathews & Pratt, 2016; Mayo et al., 2019; Morel, 2009;
Vanderpool, 2014); especially those whose approach is scien-
tific and serve as good stewards of the legacy of psycho-
logical assessment. These scientists face the longstanding
ethical obligation of protecting the integrity of psychological
assessment while responding to the demand for production
in forensic practice.

When courts rule to allow the release of test raw data
and test materials with no protections in place, they set into
motion ethical and legal exposures for the evaluators
involved. For example, the release of test raw data and mate-
rials may violate not only ethical standards, but also federal
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and state statutes including contract law as it pertains to
nondisclosure agreements that are part of the end-user
agreement with the test manufacturer, e.g., Harcourt Legal
Policy, 2004.° Morel plainly stated (2009): “Attorneys whose
actions diminish test security may violate copyright and
trade secret laws. Test publishers, such as Pearson consider
its secured tests to be trade secrets.” (p. 641). The salient
point is that professional prohibitions for the evaluator, as
well as legal prohibitions, preserve a test’s value, which stems
mostly from the fact that evaluators know the questions,
methods, scoring, and interpretation in advance, and, exam-
inees do not. Placed in such legal binds, evaluators are
exposed to sanctions that may range from violating profes-
sional ethics and a board complaint, to a failure to comply
with some “end-user agreement.” The latter may result in
losing the privilege of using a range of psychological tests
supplied by a vendor, and include other matters broached
above that encompass violating state and federal laws.

All aspects of the assessment process and the interpret-
ation of the test raw data are at issue in the forensic context,
and many attorneys for the respective parties tend to aggres-
sively pursue their respective advocacy positions. Further,
the mode of resolving disputed issues in the forensic setting
is inherently adversarial and often plays out through the
process of cross-examination. An attorney may well seek not
only test raw data and test materials, but by extension the
tests themselves. Attorneys may expressly or implicitly claim
the need for these data and materials so that they can draw
on the content to explore the integrity and the appropriate-
ness of the psychological assessment. Appropriateness, may
include, for example, the choice of tests, the administration,
and scoring of tests, as well as the choice and use of norma-
tive data, including ultimately the interpretation of results.

From a darker perspective, unethical and unscrupulous
professionals may be able to compromise or deter good-faith
efforts to protect test raw data and test materials in the
forensic setting. Attempts made to undermine good-faith
processes tend to take the form of both subtle and more
overt violations of the use of standardized procedures, or,
more directly, involve such practices as coaching client/pa-
tients about how to respond to questions presented on a
specific test (Morel, 2009; Spengler et al, 2020; Suhr &
Gunstad, 2007; Victor & Abeles, 2004; Youngjohn, 1995).
These are but two examples. Clearly licensing boards, ethical
rules governing the legal profession, and criminal laws that
deal with perpetrating fraud on the courts are available for
recourse. The capacity for redress in the absence of good
faith or due diligence, however, requires mechanisms for
identifying instances of misconduct and reporting them to
the appropriate authorities. In addition, some professionals
disregard conventions or rules for conducting psychological
assessments and working within the bounds of applicable
ethical principles, standards and legal considerations.

What then, can evaluators do in these differing assessment
environments, as they try to protect test raw data, test

SSee: https://www.harcourt.co/wp-content/uploads/2021/08/Harcourt-Standard-
Terms-and-Conditions-of-Sale.pdf

materials, and the integrity of the discipline? We propose a
stepwise process to meet increasingly more conflicted
demands. Both Kaufmann and Morel’s work in 2009 raised
many important matters, and their observations and sugges-
tions will be woven into our own across this article.
Progressive measures will be offered that consider these diffi-
cult circumstances for evaluators, beginning with documents
created to manage such matters, the process of informed con-
sent, identification of problematic professionals, motion prac-
tices (Greiffenstein & Cohen, 2005; Kaufmann, 2009; Morel,
2009), and crafting proactive sound protective orders. In the
following section, we describe the inherent problems evalua-
tors encounter in protecting test raw data and test materials,
and primarily the integrity of psychological assessment.

Contexts/environments, professionals, and
evaluators

Psychological assessment is conducted in different context-
s/environments, and for general purposes we have contem-
plated academic, clinical, neuropsychological, and forensic
assessment as touchpoints. Each context for practice differs,
both in the kind of scientific collegiality expected and in the
work’s complexity. Largely in academic or clinical contexts,
evaluators act as colleagues to meet the needs of the client/-
patient/student. Differences may be expected among evalua-
tors, and still we would argue such differences are often
addressed with collegial correspondence or a request for test
raw data to clarify a finding. It is a rare circumstance for
test materials, or the test itself, to be requested by another
evaluator. In fact, collectively we have never heard of, nor
experienced, it being done in this environment.

The potential for contention, ethical, or legal rifts in the
academic-clinical environment tends to be minimal, that is,
if we set aside two potential problems in the field: the unin-
formed professional and the compromised evaluator. These
individuals present a threat to the integrity of the discipline
of psychological assessment itself, to one degree or another
regardless of the context or practice environment. We argue
that uninformed professionals practice assessment without
having acquired the necessary basic training, supervision, and
experience to begin with, or they lack the additional back-
ground and skills necessary to work within a particular context,
environment, or more demanding tier of the practice. See for
example, Montana's law, as described earlier, that provides no
vetting process. Compromised evaluators, in contrast, possess
all the requisite training, supervision, and experience, but have
conducted their work in a fashion that does not reflect ethical
conduct or the law, or perhaps they have allowed themselves
to be swayed by an overly zealous attorney.

Those who have not been trained in the essentials of sci-
ence, not to mention the practice of psychological assess-
ment, may be uninformed about the fundamental principle
of replicability implied by the exchange of test raw data, for
example. These professionals may well be unfamiliar with
the conventions for test raw data and the laws that protect
test materials. The prospect of uninformed professionals
being granted access to tests may well be an artifact of
increasing demands to conduct psychological assessments by
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those untrained in the science (Administrative Rule of
Montana § 24.219.1003 (5); Watson and Sheperis, 2010).
The interdisciplinary Society for Personality Assessment
(SPA) has supplied the Standards for Education and
Training in Psychological Assessment: Position of the Society
for Personality Assessment (Society for Personality
Assessment [SPA], 2006). These Standards outline basic
training, supervision, and experience necessary to engage in
the fundamental practice of psychological assessment. In the
academic context qualifications for school psychologists
(National Association of School Psychologists [NCSP],
2010), educational diagnosticians, and special education
teachers tend to be defined, but many states also allow bach-
elor’s level educators with limited training to administer psy-
chological tests in a fashion akin to that of lower-level
psychometricians (Axelrod et al, 2000). Psychometricians
occupy a slightly different level of practice, and addressing
these practices as well as those that involve evaluation techni-
cians/student educational technicians’ lies beyond the scope
of this paper (Barry, 1974; Malek-Ahmadi et al., 2012).

When public safety is involved, certification or licensure
in some form is often required. This serves as a vetting pro-
cess to ensure that the public is protected from those who
would engage in a scientific endeavor. This holds true for
many fields. A pharmacist is not legitimately hired by a hos-
pital after completing a single introductory course in chem-
istry; similarly, a pilot licensed to fly only gliders would not
be hired to pilot commercial aircraft with an engine. While
concerns regarding academic and clinical practice tend to
hold true for neuropsychology, there has been increased
demand for these services in forensics. A substantial number
of these assessments are requested, nearly double the foren-
sic involvement twenty years ago (Essig et al., 2001; Serafim
et al., 2015). Prior to approximately 2000, conducting neuro-
psychological assessment entailed years of training, supervi-
sion, and experience beyond basic training in psychological
assessment. Since then, a more formalized process described
as the Houston Model had evolved (Division 40 of the
American Psychological Association, 1989; Rey-Casserly
et al, 2012; Sweet et al, 2000), and more recently there has
been the Minnesota Conference (Puente et al., 2023). Forensic
assessment also involves significant further training, supervi-
sion, and experience beyond basic training, and it involves psy-
cho-legal processes and a specific assessment focus (APA,
2013; Heilbrun, 1992), While ideally collegiality may be
enjoyed between evaluators in any environment, the adversarial
nature of the forensic process has the potential to create dis-
agreements and tensions. Further, as discussed, increased
demands for disclosure may, at times, be problematic.

Ethical evaluators working in the forensic context may
wish to obtain test raw data and run their own analysis to
verity the scientific integrity of a colleague’s work. Similarly,
most practicing attorneys do not request copywritten material
and rely on expert evaluators’ analysis of test raw data. Still,
the prospect of uninformed professionals working with

7See: https://agency.governmentjobs.com/longbeachusd/job_bulletin.cfm?JobID=
1144832

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attorneys presents a psycho-legal problem. That is, how to
deal with releasing test raw data and, when required, test
materials, to those who have a high probability of misinter-
preting and misunderstanding it? Compromised evaluators,
on the other hand, intentionally misuse their knowledge to
one extent or another and may potentially weaponize test raw
data and test materials in their work with attorneys. We have
encountered compromised evaluators and attorneys who
demand not only test raw data, but also copywritten materi-
als, such as scoring protocols, computer-generated reports,
and even the tests themselves. These compromised evaluators
in league with certain attorneys knowingly strain and/or vio-
late accepted professional conventions and laws when they
attempt to misuse or misrepresent test raw data and/or test
materials. Such evaluators confound and conflate the defin-
ition of test raw data with test materials in statements like
this one that came from a demand letter in an actual case:

The term “raw data” is generally understood to mean true and
accurate xerox copies of all test forms, scored tests, or computer
generated scores and computer generated test interpretations.

Going back to earlier statements made by APA (2017)
and NAN (2003, 2000), in most cases test raw data and test
materials are not the same. Even so, these compromised
evaluators chose to misuse them for legal, not scientific, pur-
poses. This misuse includes copyright violations that occur
with the demand for disclosure of test materials. In essence,
by employing such practices, compromised evaluators abuse
and distort the intended use of test raw data and materials
in the legal forum such that they no longer serve science
and, in turn, supply legal fodder for argument by attorneys
(though some attorneys may be unaware of their tactics and
the known practices in the field). While some professionals
are simply uniformed, compromised evaluators know better.

Unfortunately, neither situation, being uninformed about,
nor compromising science for personal gain, is new. Both have
occurred across the vast majority of scientific disciplines (Gastil,
1971; Greenberg, 2008; Holt, 2016; Lewis, 2014; Pennypacker,
1986), But, given the subtle nature of psychological assessment,
attorneys and judges working with such professionals and eval-
uators may neither recognize, nor understand, that a profes-
sional is uninformed, or, that an evaluator knowingly
encourages transgressing basic, and well established, ethical and
scientific principles. Such behavior is, however, obvious to well-
trained and seasoned ethical evaluators. Thus, detailed and
complex scientific arguments about protecting scientific integ-
rity may run the risk of confusing attorneys and judges. To
bring this matter into focus, one may ask these professionals:
Would it be reasonable for the contents of law school admissions
tests or the bar exam to be known and discoverable? Test secur-
ity applies not only to such exams, but also to psychological
assessment (Morel, 2009). Perhaps attorneys and judges may be
able to appreciate such an analogy to, “inherently understand
test security” (Kaufmann, 2009, p. 1148). To summarize, dis-
closure problems arise from a series of issues:

e Unreasonable requests for test raw data, and,
e Questionable demands for test materials,
troublesome matters.

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These problems raise the prospect of professionals prac-
ticing psychological assessments without the requisite train-
ing, supervision, and experience necessary for conducting
basic work, not to mention more advanced and complex
forms of assessment; and its misuse by knowledgeable pro-
fessionals in the forensic environment by those who possess
such training.

Statements made by, and examples of, correcting
the work of uninformed professionals and
compromised evaluators

Uninformed professionals and compromised evaluators tend to
cloak their wrongdoings against the sanctity of test raw data,
as well as copyright agreements regarding test materials, with
indefensible statements asserting that other parties have
engaged in misconduct or are practicing junk or pseudo-
science. Therefore, they require such data and materials. Such
statements require exorbitant attention, effort, and time to clar-
ify, defend against, and most importantly to correct. Simple
errors and mischaracterizations are likewise difficult to clarify
and defend against. Two relatively brief examples from actual
cases illustrate the practices of uninformed professionals on the
one hand and compromised professionals on the other.

A case in which a subpoena duces tecum was issued by
an opposing attorney required that an evaluator turn over
an entire case file, including test raw data and test materials.
The evaluator cited copyright law and user agreements
through their own attorney to avoid turning over test raw
data and test materials to a professional whose credentials
had not been verified. In fact, later it became clear that the
uninformed evaluator did not even possess the basic training
suggested by the SPA (2006), no less advanced training for
forensic practice. However, the evaluator was ordered to
turn over the entire case file by the Court.

Several weeks later the opposing attorney, who had issued
the subpoena, accused the evaluator of not turning over all of
the case file, and, specifically, via an uninformed professional
who was serving as this attorney's “expert consultant,” stated
that the “codetypes” for the Rorschach had not been
surrendered... Days later the uninformed professional issued
a report that was full of errors and misstatements about tests,
test interpretation, the conventions of psychological assessment,
and so on. Among those errors was the repeated co-mingled
reference to the Rorschach and “codetypes.” The use of the
term codetype was not an error on the attorney's part, but
rather reflected the quality of understanding that the unin-
formed professional possessed about the Rorschach.

To be clear, there are no codetypes derived from the
Rorschach. Codetypes are used in reference to the MMPI-2,
for example, whereas “scoring” is used across major referen-
ces to the Rorschach (Exner, 1991, 1993; Exner & Colligan,
2001; Exner & Weiner, 1995) and with the Rorschach’s com-
prehensive method, which was used in this case (Evans,
2016; Gacono, & Evans, 2008). Though, literally, over four
dozen different “scorings” had been supplied in the release
of test materials via the Rorschach Interpretation Assistance
Program’s™ (Exner & Weiner, 2008) computer-generated

interpretive report's sequence of scores the uninformed pro-
fessional did not even recognize them. What became evident
was that this professional did not understand, or realize,
that over four-dozen typewritten responses to the Rorschach
had been supplied, that is, the “test raw data.” But, in truth
their complaint was about “test materials,” a supposed out-
come where the data had already been interpreted and
scored; and again, these outcomes had been provided in the
interpretive report in a computer-generated table. The unin-
formed professional simply had no idea what they were
looking at. This evaluator did not miss just one, or even
two, “codetypes.” This uninformed professional missed each
of the over forty-eight different independent “scorings” that
had been supplied. Still, the opposing attorney accused the
original evaluator of disobeying the subpoena duces tecum
and the Court’s Order for the release of test raw data and
test materials. Plainly, the opposing attorney had been mis-
informed about the original evaluator’s compliance with the
subpoena duces tecum and the Court’s Order.

The level of uninformed practice described here is so
obvious in the scoring and interpretation of the Rorschach
that no other remarks by this “expert” consultant could be
considered remotely credible. A great deal of effort had to
be mounted by the evaluator to educate the Court and rebut
this “expert consultant’s” report, given that there were over
a dozen tests administered across the assessment. Consider
the dismay of the attorney and the Court when faced with
these realities; first, their lack of information about the unin-
formed professional’s level of competence, and second, the
revelation that the uninformed professional did not possess
even an elemental level of competence.

A second real-world example pertains to the Vineland
Adaptive Behavior Scales - Third Edition (Vineland-3), and
this involved completely false and misleading statements by
what has been described as a compromised evaluator. The
following was stated: “The Vineland is a measure by which
parents, teachers or caregivers rate the adaptive functions of
individuals who have intellectual, developmental and other
related disabilities.” Hence, the compromised evaluator was
pushing the notion that the Vineland-3 only applied to
those with developmental disabilities. This was incorrect. On
page one of the Vineland Adaptive Behavior Scales-Third
Edition’ Manual (Sparrow, et al., 2016) it is explained that
it is an, “individually administered measure of adaptive
behavior,” and applies to those: “with intellectual, develop-
mental, and other* disabilities.” The compromised evaluator
had stated that there were only normative tables for devel-
opmentally disabled groups. Normative samples from the
Manual (p. 90) proved this statement inaccurate, since the
samples included levels of educational attainment that those
who suffer from an intellectual or developmental disability
do not generally achieve such as college (see Appendix C).

The compromised evaluator’s inaccurate statement about
the applicability and scope of the test’s use misled not only
the attorneys who retained the evaluator’s services, but the
Court as well. Consider, on the one hand, the purposive

*italics added for emphasis.
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nature of the compromised evaluator’s assertions, and then,
on the other, that this was not the only such assertion in the
case. Dozens and dozens of errant and misleading assertions
required a sound educational response that informed the
attorneys working with the compromised evaluator and the
Court. Imagine if a jury had been involved in the case, and
the numerous other challenges that might well have arisen.

The evaluators and professionals described in the para-
graphs above confounded the scientific purposes of test raw
data, and the differentiation of test material, through their
uninformed practice and compromised actions. In fact, these
behaviors tend to also encourage what is colloquially
referred to as “fishing expeditions,” under the auspices of
discovery. However, when science is practiced honorably
and in good faith, that is not the purpose of exchanging test
raw data, and test materials are not requested. Other profes-
sionals should be aware of uninformed practitioners and
compromised evaluators who not only step up to the edge
of, but often go over the lines of ethical and legal practices.

Additional considerations involve the demand for copy-
righted test manuals, forms, and other materials that only
qualified evaluators are able to make use of, again, under user
agreements, Uninformed professionals may not have the qual-
ifications to even purchase the test materials being demanded.
Demands for test materials may entail producing the copy-
written form or protocol used for administration or scoring.
Such requirements may also include computer-scored proto-
cols or printouts with codetypes, scoring, and narratives
intended for use only by those who have been properly
trained. In fact, many such tests include copyright and trade-
mark warnings, asking the evaluator to adhere to specific
standards (see for example, NCS Pearson, Inc. and
University of Minnesota, in Appendix D). Petitions for test
materials may even include the tests themselves in their entir-
ety, which would entail braking licensing agreements should
evaluators comply. Those who have compromised their prac-
tice may feign as though they do not have access to these
materials, and the attorneys they are working for must have
them for full disclosure. Such demands may include some
materials that cost many thousands of dollars and are only
sold to qualified users. Common sense dictates that if these
are truly “expert” evaluators or professionals, then they
should own their own version of the test. Moreover, following
this logic they should also be able to input the test raw data
into the test’s scoring protocol and arrive at the same findings
as the original evaluator. There may be other matters in play
too, and while it may be true that using the same test raw
data should lead to the same findings, we have also been
involved in cases where compromised evaluators have gone
so far as to alter the basic conditions of the test. These com-
promised evaluators have altered demographic variables that
drive normative tables, and then entered the test raw data to
arrive at different results. Thus, compromises to standardized
administration may take many forms, from misrepresenting
how a test is used and what population it is normed for, to
changing a client/patient’s basic conditions even though the
test raw data was used, among other problematic unethical
behaviors.

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Math is math

In a scene from the movie Incredibles 2 (Bird, 2018), Bob,
better known as Mr. Incredible, is assisting his son with math
homework and exclaims: “Math is math. Math is math!”
Plainly the scene speaks to a new approach to solving basic
mathematics equations. Similarly, although there may be any
number of formulas or treatments for test raw data, test raw
data are, nonetheless, test raw data! Consequently, science is
science, and it does not matter if one is using a set of math-
ematical coordinates from which to launch an aircraft or the
basic chemicals involved in preparing a pharmaceutical.
Knowing the base information—information that is replic-
able—remains critical for arriving at the right destination or
creating a particular pharmaceutical. Naturally, these initial
conditions must be correct, and if they are incorrect any sub-
sequent outcome will be flawed. For example, an aircraft
could be off course by hundreds of miles, or a pharmaceutical
that has been designed to be a preventative therapeutic may
become toxic at the wrong dose.

In the context of psychological assessment, such base
information should be well known to professionals, and thus
a demand for test materials is not unlike asking for the entire
CT or MRI machine, or perhaps, the proprietary computer
software that runs these machines. To our knowledge, neither
machines nor their programs have ever been surrendered in
response to a request for the data they generate. Neurologists
and other medical specialists relying on sophisticated imaging
techniques frequently make referrals to neuropsychologists to
obtain information about the subtleties of brain/behavior
functioning that even highly advanced imaging cannot isolate.
However, the imaging technology itself has never been viewed
as part of a patient record, and with rare exception neither
should test raw data be mistaken for test materials. If, rather
than accepting a test that has been admitted a priori as meet-
ing the Daubert Standard (Daubert v. Merrill Dow Chemical,
1993), attorneys argue that they want to examine the machin-
ery itself, they confound the established notion of scientific
validity previously accepted under this Standard (see
Appendix E). While attorneys may seek to obtain or even dis-
member psychological tests measuring academic, cognitive,
emotional, interpersonal, or neuropsychological functioning
in the pursuit of a particular legal outcome, we suggest clarity
about what is being requested.

Test raw data represents the essence of who a person is in
a quantifiable form at a particular moment in time. Certain
raw test data represent essential truths about the client/pa-
tient, for example, a personality variable, an emotional con-
struct or a neurocognitive ability. Properly collected, and
reviewed, it is representative of who that person is at that
moment in time and how they have responded to the particu-
lar demands of psychological tests and the assessment process.
Admittedly, not every client/patient examined is completely
forthcoming. In fact, such failings are expected due to defense
mechanisms, the desire to preserve one’s own illusions about
oneself, and as a product of outright malingering (Larrabee,
2012a, 2012b; Meyers et al. 2011; Rogers & Bender, 2020;
Sellbom et al. 2010; Tombaugh, 1996). However, efforts to
evade truthful and complete answers are measured in the test
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“raw data itself and may be discerned from the internal validity
structure of a test, characteristics built into the test, perform-
ance validity and symptom validity tests, or from the eco-
logical validity supplied by collateral information (Burgess
et al., 2006; Dawson & Marcotte, 2017). Such validity meas-
ures serve to inform the evaluator’s conceptualization of the
client/patient’s functioning. Regardless, these conceptualiza-
tions may be understood and reproduced by properly trained
evaluators using test raw data and through the application of
the science of psychological assessment. Again, math is math.
Moreover, our use of the term “sanctity” has been purposeful.
Evaluators hold a sacred trust, passed on to them by profes-
sors and supervisors earlier in their careers. Test raw data
represents the essence of who a person is in a quantifiable
form at a particular moment in time. It follows that convinc-
ing other professionals of the venerated, very private, and per-
sonal nature of this type of data is fundamental to its
protection at all levels. In turn, other professionals ought to
be encouraged to understand that this trust is not to be vio-
lated, and that there is a scientific sanctity to test raw data
that requires protection by evaluators and other professionals.

Oversight failures, specialization, and advanced
practice

As stated earlier, it is inadvisable to hire a person who has
only completed an introductory course in chemistry as a
pharmacist; nor is it prudent to hire a novice pilot who has
only just obtained a glider pilot license as a commercial
pilot. The expertise articulated by both examples takes years
to accumulate. Unfortunately, the same kinds of professional
differentiations, and certifications/licensure, do not hold uni-
formly in the practice of psychological assessment, despite the
sanctity of the endeavor. Legislative and government officials
in certain countries or provinces/states have been convinced
that there is no, or a limited need for, a vetting process. This
disregards the fact that even most psychological test vendors
require base qualifications for the purchase of their products.
As but one example we have Pearson Assessments’
Qualification’s Policy (see Appendix F).

The matters involved here are not so much a matter of
fair access to the administration of tests (Watson &
Sheperis, 2010), as they are failures to protect the public,
seemingly fueled by those who would use such a coalitions
like Fair Access Coalition on Testing (FACT) to gain access.
Watson and Sheperis (2010), however, to their credit were
clear about the need for basic requisites:

In their policy statement on test user qualifications, ACA [the
American Counseling Association] asserts that the right to test
should be based primarily on user competence obtained through
education, training, and experience in the field of testing. (p. 2)

Unfortunately, that aspirational statement has not been
the reality in Montana. For example, consider the
Administrative Rules of Montana described earlier in this
paper, where there is no assurance that a host of master’s
level practitioners or non-psychologists possess even basic
skills to practice psychological assessments. For example,
even just the most fundamental two semesters of graduate

training described by the SPA (2006) are not required for
certain miasters-level professionals. Parenthetically, this
Society is an interdisciplinary body made up of, for example,
masters-level evaluators, psychiatrists, and psychologists.
Jurisdictions without proper vetting processes, including the
lack of even the most basic training in psychological assess-
ment, creates a dangerous and potentially harmful situation
for those client/patients receiving psychological assessments.
Fundamentally, if professionals have no basic training,
supervision, or experience in psychological assessment, then
how are they to gauge the sanctity of the process or its
import for the lives of those served? That is, not to mention
knowing how test raw data is collected, maintained, and
properly released? This does not even take into account how
test materials may be regarded. Given what appears to be a
lack of understanding among some government officials,
legislators, and these uninformed professionals, Montanans
were fortunate that the Board of Psychologists chose to act
and had the foresight to issue a Consumer Notice in 2013
after the aforementioned legislation had initially passed (see
Appendix G). Allowing uninformed professionals to practice
in Montana serves as but one example of how failures in
governmental oversight may cause harm to consumers, des-
pite the admirable efforts by the Board of Psychologists.

There are multiple levels of psychological assessment
beyond the basic requirements discussed above, and these
involve forensic, neuropsychological, and parenting plan
assessments, among others. Competent practice requires years
of additional training, supervision, and experience beyond
graduate and post-graduate training for licensure as a psych-
ologist. These assessments rely upon test raw data in an even
more convoluted fashion, since in these fields’ dissimulation
and/or malingering are encountered more frequently (Rogers
& Bender, 2020). Also, the import of collateral information
often amplifies the need to check conformance between test
raw data and ecological validity (Burgess, et al. 2006; Dawson
& Marcotte, 2017). However, the basics involved with the
management of test raw data abides regardless of attempts by
uninformed professionals and compromised evaluators to
confound these matters in psycho-legal contexts. Again, per
Montana’s regulations for licensed psychologists, those con-
ducting parenting plan assessments are charged under the
title of Collection and Use of Data to (Administrative Rule of
Montana § 24.189.820 (1)°), “use generally accepted standards
for the collection and use of data.” Further, these “generally
accepted standards” as well as others, specifically address,
“releasing raw test results or raw data” in the Administrative
Rules of Montana (see Appendix H). Arizona, California,
Nevada and Wyoming (A.A.C. Title 4. Ch. 26. Article 3. R4-
26-301, State of California, 2017, p. 83; Nevada
Administrative Code. Ch. 641. § R174-20; WY Code of Rules.
068.0001. Ch. 10. § 4 (0)) have incorporated the Ethical
Principles of Psychologists and Code of Conduct from APA
(2017), as standards of practice for psychologists. Florida
Administrative Code makes explicit protections for “test data”
with three conditions for release (Ch. 64B19-18.004 (3)).

*https://rules.mt.gov/gateway/RuleNo.asp?RN=24%2E189%2E820
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A historical legal context: case law

Historical state and federal court decisions have established
legal precedents that preserve several elements of psychological
test security, which we note Kaufmann, and separately Morel,
reviewed in 2009. In fact, in Detroit Edison Co. v. National
Labor Relations Board (1979), industrial/organizational psychol-
ogists were ordered to release to the union test materials. That
is, its standardized test questions, answers, and psychological
aptitude tests (which were used in an employee selection pro-
gram). The Supreme Court found that the National Labor
Relations Board (NLRB), “abused its discretion.” (p. 316) This
court also commented on the, “strong public policy against dis-
closure of ... tests” (p. 314). Other court decisions or prece-
dents include EEOC v. C & P Telephone Co. (1993): “test
secrecy is critical to the validity” (p. 876). As another example,
in Florida Department of Transportation v. Piccolo (2007), “the
US Supreme Court recognized the psychological profession’s
legitimate interest in preserving the security of test materials”
(p. 776). The court found that respondents have an extremely
strong interest in protecting the subpoenaed information.
However, even in cases where a precedent for protecting the
privacy of psychological test materials and procedures has been
acknowledged by the court, motions to protect this informa-
tion have been denied. In Florida Department of
Transportation v. Piccolo (2007), the defendant requested that
the trial court require plaintiffs counsel to return to the exam-
ining neuropsychologist a videotape of the neuropsychological
evaluation. The neuropsychologist (G. Larrabee, Ph.D.) testified
that he would not perform the examination unless the court
required that the tape and all copies be returned to him at the
close of litigation. Dr. Larrabee explained that should a copy of
an examination remain with an attorney after the completion
of litigation, it could be used to prepare other clients to take
such examinations, thereby compromising future examinations.
Although the appellate court recognized the psychological pro-
fession’s legitimate interest in preserving the security of test
materials, and even cited Detroit Edison Co. v. NLRB., it, never-
theless, concluded that it had not been demonstrated that not
safeguarding the videotape, “departed from an established
principle of law” (p. 776). Therefore, its protection was
denied. In making this ruling the court did recognize that the
neuropsychologist had, “well-founded reasons for insisting on
the return of the videotape after the litigation had been con-
cluded” (p. 776). The case was made by counsel representing
Florida Department of Transportation that denying their
request to return the videotape to the neuropsychologist
would make it, “impossible for the agency to obtain the serv-
ices of a clinical neuropsychologist” (p. 776). The motion was
denied, and had the neuropsychologist proceeded with the
case the psychological material would have been compro-
mised. So, even while acknowledging the legitimacy of the
psychological profession’s position on the privacy of tests, the
appellate judge dissented, basing his ruling on the premise
that the Florida Department of Transportation could arrange
for the plaintiff to be examined by a, “professional from a dif-
ferent discipline” (p. 776).

Another example of the uneven and inconsistent manner
in which courts have dealt with test raw data and test

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materials may be found in Koch v. Koch (2011). Proponents
of recording custody evaluations argued that providing the
trier of fact (ie, the judge) with the actual, unprocessed
statements of the interviewees would allow the trier to make
better assessment of the expert’s conclusions'®. There were,
however, several flaws with that argument. First, as already
pointed out, the goal of a custody or parenting plan assess-
ment is to obtain the independent recommendation of an
expert. It is the job of the expert to give a professional
assessment of the test raw data collected during the assess-
ment. The resulting report is not merely a compilation of
test raw data, but an informed synthesis of information
offered to the court by a trained professional.

Asking the judge to review the underlying test raw data on
which the expert formed a conclusion is really asking the judge
to assume the role of not only an evaluator, but also an
expertly trained evaluator, whose training, supervision, and
experience have eclipsed “basic” competencies in psychological
assessment (SPA, 2006). Meaning, not only an evaluator who
has been trained in the basics, but an evaluator who is compe-
tent in both forensics and custody/parenting plan assessments.
While a court can be, and often is appropriately asked to assess
an expert’s opinion, and either reject that opinion or perhaps
give greater weight to the opinion of another expert, we would
argue that the court should not do so based on an assessment of
the expert’s test raw data or test materials. Instead, the proper
assessment of the expert should be based on traditional, and
well-established, procedures, such as the deposition and cross
examination of the expert as well as what standards exist for
the use and dissemination of these materials, for example,
Daubert v. Merrill Dow Chemical (1993) General Electric Co. v.
Joiner (1997), and Kuhmo Tire Company v. Carmichael (1999).
With a few exceptions, an administrative law judge, as a lay-
person, is generally not qualified to interpret test raw data or
test materials in medical records (see for example Florida
Administrative Code in Appendix J).

Regardless of jurisdiction, courts may be conflicted on
these matters, especially if attorneys are encouraged, misled,
or spurred on by uninformed professionals and compro-
mised evaluators. One solution is a protective order for test
raw data, test materials, and limitations on audio as well as
videotaped materials. While there are a number of examples
(Manso-Pizarro v. Secretary of Health e Human Servs.,
1996; Taylor v. Erna and Godsmack, 2009); Bayless v. United
States (2015) supplies a reasonable example of the content
of a protective order that would achieve these ends.

1. Upon receipt of the responsive materials from Dr.
Didriksen, the United States will assign an identification
number to the materials and will mark/stamp each
document “Confidential” (hereinafter referred to as
“Confidential Materials”).

2. These Confidential Materials may be used only for pur-
poses of this litigation. Such materials shall not be used

"see the comments to the Family Practice Committee Final Report to the New
Jersey Supreme Court Ganuary 20, 2011), available at https:/Avww.njcourts.gov/
supreme-court-committee-reports/family-practice-committee or see: https://cite.case.
law/nj-super/424/542/
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for any other purpose, including, without limitation, dis-

closure to the public or media, use for any business or

commercial purpose, or use in any other litigation or pro-
ceeding. The foregoing shall not apply to discovery mater-
ial that properly is or becomes part of the public record.

3. These Confidential Materials may not be disseminated, dis-
closed, summarized, described, or otherwise communicated
or made available in whole or in part to any person except
the following “Authorized Persons”:

A. Counsel for the parties, and the paralegals, secreta-
ries, employees, and service vendors of such coun-
sel (including outside copying services and outside
litigation support services) who are assisting in the
preparation and trial of this action;

B. Any person indicated on the face of a document to
be the author, addressee, or an actual or intended
recipient of the document. (p. 4)

A proposed answer

At the core of defending the integrity of psychological
assessment practices lies the sanctity of test raw data and
protecting test materials, which speak to preserving the
“quantitative representation” of the client/patient encapsu-
lated in the test raw data and, importantly, adhering to
copyrights and user agreements. So, what is “The Answer?”

To begin with, it is important, especially in this day of
the internet, and given the ease with which test materials
can be inadvertently made public, that lawmakers, licensing
boards, attorneys, judges, and so forth should be made
aware of the needed limitations on access to test materials
and the correct procedures to release test raw data. For
example, many legal systems now have online hearing and
trial public records.’' In legal cases it is quite common and
appropriate for psychologists on either side of the case to
share test raw data. It may be viewed as a professional
standard of care, or at least a courtesy or well-mannered
formality. The purpose of sharing test raw data is not, how-
ever, intended to be an “I gotcha” kind of legal dodge by
uninformed professionals who do not know the standards,
or, by compromised evaluators who do not follow the code
of conduct in their discipline'*. Instead, the purpose is to
ensure that test results can be scientifically replicated.
Occasional scoring or other errors may have bearing on the
interpretation of test raw data. In those cases, the sharing of
test raw data helps to identify such errors, which may lead
to a respectful collegial discussion. This also assumes that
the individual who either performs the assessment or
receives the test raw data actually has sufficient skills to
understand how to reconstruct and interpret the findings
from the test and/or assessment.

Licensing boards ideally ensure that those who do receive
a license to practice understand the limits of their compe-
tency and have met at least minimum standards for practice.

“Montana Courts: https://courts.mt.gov/Courts/portals

United States Courts: https://pacer.uscourts.gov/
‘see, for example, American Counseling Association (2014) and American
Psychological Association (2017).

Simply having been in practice for 30 years does not make
an individual qualified to interpret psychological test raw
data or appreciate the conventions involved with test materi-
als. If you do something wrong for 30 years, it is still wrong.
Unfortunately, those who have all the requisites, as well as
appropriate letters behind their names, are not always com-
petent either. Still, at least those who have been vetted
through a licensing board that has appropriate standards, as
well as perhaps a board certification process, have had their
credentials and/or work product reviewed for competence.
In the field of psychology, board certification in various spe-
cialties is accomplished through the American Board of
Professional Psychology (ABPP) or the American Board of
Professional Neuropsychology (ABN). Both Boards are rec-
ognized by the APA through the Commission for the
Recognition of Specialties and Subspecialties in Professional
Psychology (CRSSPP).'3 This statement does not imply that
those who are board certified may be more competent than
those who are not board certified, but if an individual has
board certification this at least does demonstrate that an
entity has taken a critical look at their work. In short, eval-
uators who have psychological assessment in their scope of
practice need to keep their house in order. Therefore, we
need to call these matters out in the way that ethics codes
intend (e.g. American Counseling Association [ACA], 2014;
APA, 2017), make use of the complaint process, and if need
be, to clean house. But that can only be done if the lines are
drawn clearly enough by guidelines and/or standards that
cut across professions and specialties, by laws, and perhaps
by other publications that may serve to inform the profes-
sion and the legal system.

The “weaponization” of requests for test raw data and
test materials may be removed by simply clarifying language
in these ethics codes, stating that the test raw data cannot
be given to those who are unable to demonstrate competen-
cies commensurate with assessments conducted, and that
test materials are not to be turned over except with rare
exceptions (NAN, 2000, 2003). The default position may be
that the test raw data may not be given to non-psycholo-
gists, despite aspirational statements made by interdisciplin-
ary associations and societies (SPA, 2006; Watson &
Sheperis, 2010). To ensure the veracity of the test raw data,
and the scientific integrity of the process for purposes of
meeting the Daubert Standard (Daubert v. Merrill Dow
Chemical, 1993), the best practice we recommend is for an
attorney or judge to have a qualified evaluator receive test
raw data, and then the evaluator receiving the information
is bound to ensure that it is treated properly and ethically.

However, some attorneys not competent to interpret or
appropriately use test raw data and test materials may seek
to have the materials sent to them directly, rather than to an
evaluator. The risk here is that the materials will be misused
or abused by this release, or even worse used to further
fraudulent activity, like coaching clients in how to respond
to testing. With such attorneys the expressed legitimate need
for materials to further an informed response to findings or

‘3https://www.apa.org/ed/graduate/specialize/application-process?tab=3
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to engage in effective cross-examination is a ploy that
threatens the integrity of both the psychological and legal
enterprises. Attorneys who are not competent to interpret
test raw data and materials may be breaking laws and dis-
rupting user agreements. Unless competence can be demon-
strated, attorneys should be required to show that they will
engage with competent evaluators in their use of these mate-
rials or be held accountable through court sanctions or pro-
fessional discipline for the acts and consequences of their
misuse of these materials.

Ethical evaluators caught in these circumstances are likely
to feel isolated due to the complexity of these legal and eth-
ical issues. We suggest broadly reaching out to colleagues
and, for example, to the APA or state, provincial, or territor-
ial psychological associations, to other more specialized asso-
ciations, or to divisions within APA as well as consulting
federal and state laws, and organizational risk management
resources, Evaluators must also understand legal arguments
offered and be able to articulate the limitations imposed on
access based on state and federal laws, as well as professional
rules and guidelines. Ultimately, what matters is protecting
the public by safeguarding the integrity of the science of
psychological assessment, and even further the robustness of
the adjudicative process by resolution of disputes on their
merits. Otherwise, not just the integrity of tests materials
and raw data are put at risk, but also public trust in science
and in the larger dispute resolution process.

Stepwise solutions

We are well aware, actually personally aware of the chal-
lenges spoken to in this paper: the angst, the conundrums,
and the need to reach out to trusted colleagues and other
professionals when involved with such cases. These situa-
tions may be very trying for evaluators making an effort to
conduct themselves in an ethically, legally, and scientifically
responsible fashion. We propose a series of considerations
that may bridge the gaps identified, and provide suggestions
for manageable ethical, legal, and scientific practice. Further,
we make an effort to do so in a reasonable fashion, and
when matters become unreasonable, we argue what steps
should be taken to make that reality evident.

1. In forensic cases, before any consents are signed and
motions have even been made for an evaluator’s
involvement, we encourage evaluators to take a pro-
active approach to the known conditions or requests for
involvement by attorneys and judges. When an evalu-
ator is appointed, or selected to conduct an assessment,
that evaluator should request that the designation or
order clearly states that test raw data will only be
released to professionals who are qualified to review
them. Further, if it is released, such a release should be
done under a protective order that has guardrails
around who has access to it, how long the test raw data
are relevant, and when, or if, they will be destroyed or
placed under seal once the case has been resolved with

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restrictions on their use outside the immediate litigation
in which they were obtained.

2. Whether in an academic, clinical, forensic, or neuro-
psychological context, evaluators are encouraged to
begin the management of test raw data and restrictions
on test materials at the outset of the case. They are
encouraged to make use of specific language in their
consent for services that is consistent with state licen-
sure and national guidance by professional organiza-
tions. It may be useful to cite specific state laws about
test raw data when they exist and/or specific ethical
principles to which an evaluator’s practice particularly
adheres. This document should also describe a results
session that focuses less on the test raw data itself and
more on the patterns of findings, diagnoses, and recom-
mendations that will be more understandable to the cli-
ent/patient and attorney. The handling of test raw data
and test materials should be stipulated, including, the
process involved should another qualified evaluator
request test raw data, and what might happen should a
court order its release.

3. We also encourage, as specified by ethics codes and
professional guidance, a verbal, interactive, informed
consent process before the assessment process begins.
There should also be a discussion during which the
consent for services and other documents are reviewed
by the evaluator and the client/patient. This process
should be documented in the final report with a para-
graph that identifies the documents reviewed and
affirms that a discussion took place to ensure that
informed consent was achieved.

4, At the time of the results session, evaluators have the
opportunity to speak to the role of test raw data, noting
the expertise required to discuss it. They should address
the more relevant and comprehensible findings and pat-
terns with the client/patient regarding the assessment’s
outcomes.

The steps above largely address what happens before and
immediately after the assessment has been completed. The
next step deals with what happens afterward in response to
requests for test raw data.

5. Any number of benign situations in an academic, clin-
ical, forensic, or neuropsychological context may involve
requests for test raw data for purposes of verification.
For example, other evaluators may have a finding on
the same instrument that does not align, or they may
arrive at another interpretation. In this instance, the
contact is collegial, and a request is made to scientific-
ally check the test raw data against other findings.
Evaluators should respond in a collegial and cooperative
fashion once the credentials of a colleague have been
established. This interaction can be viewed as one more
validity check on the work conducted.

6. Professionals may begin with the expectation that the
other side—the other evaluator, the other professionals
may be reasonable in making requests. Kaufmann
advises (2009), “Agree to release test materials and raw
data to the opposing psychologist expert.” (p. 1141).
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Bearing in mind the discussion above, the focus here
becomes twofold (Kaufmann, 2009):

Do not raise concerns about the opposing expert before having
grounds to do so.
And:

Motion practice to protect test materials may require an
attorney. (p. 1142). Thus, as to the first point, we have spo-
ken to collegial exchanges. On the other hand, there are
grounds for concern when an opposing evaluator is unable
to demonstrate adequate competence. Has the other evalu-
ator provided their curriculum vitae and a list of their
graduate training, supervisors, experiences? Moreover, if
necessary, is the other evaluator able to demonstrate
advanced training in a specialization that establishes their
credentials to practice the particular type of psychological
assessment involved in the case? If they have provided these
materials and demonstrated their expertise, then it would
seem reasonable to provide test raw data directly to them.

However, if the other expert has not provided these materi-

als, or has not provided adequate credentials, then it is time

to begin working with an attorney and engaging in “motion
practices” as Kaufmann (2009) has suggested.

The question is, are you, as an evaluator, working with an
attorney in a reasonable and prudent fashion? Kaufmann
(2009) suggested stipulations and noted that the discovery pro-
cess has guard rails citing: “Federal Rule of Civil Procedure
(FED. R. CIV. PRO.) 26 and Federal Rules of Evidence (FED.
R. EVID.) 702, 703, and 705” (p. 1143). We encourage the
interested reader to review not only Kaufmann’s further com-
ments closely, but also Morels’ (2009), since processes may
include subpoenas, as well as other such motion practices, and
these references may be helpful.

7. By the extension of the reasonable hypothesis notion
above offered by Kaufmann, test raw data and test
materials may be protected through joint motion practi-
ces given requests that come up in discovery regarding
copywritten and/or sensitive materials. This is where a
protective order comes into play in forensic matters
such as the one from Bayless v. United States (2015). It
protects the client/patient involved from exposing
intimate details that may be contained in the test raw
data or other sensitive materials. It also serves to protect
test security due to the quality of responses provided in
the test raw data and test materials. If the other side is
reasonable, and their expert sound, a protective order
should be readily agreed to when such requests are
made. There may well be back and forth motion proc-
esses, including subpoenas, that will put demands on
evaluators regarding protective orders. In addressing
these demands the evaluator should apprise attorneys
and the courts of fundamental articles, learned treatises
such as those by Kaufmann (2009) and Morel (2009),
perhaps this paper, and relevant case law.

Psychologists and other duly qualified professionals
need to be aware of such conventions with regard to
test raw data and test materials, regardless of what has
been stated in our ethics code or what test vendors

describe in their user agreements. A reasonable solution
to discovery, when a protective order and other related
motion practices are necessary and useful, can be nego-
tiated, with these caveats and within the more general
context of competent use. More general, practical, mat-
ters include the following:

A. Courts are encouraged to use protective orders so
that evaluators are protected, the release of infor-
mation is managed, and the attorneys get what
they need.

B. Protective orders may not prevent lawyers of ques-
tionable ethical character from using test raw data
and test materials in future cases, and specifically
to engage in such problematic practices as prepar-
ing future clients/patients for testing in ways that
subvert the assessment process. Protective orders
should have document destruction dates, or expir-
ation dates for the use of test raw data or test
materials should be included in protective orders.
Orders should also expressly preclude the use of
the test raw data and materials outside the context
of the immediate litigation in which they have been
obtained.

C. The points above address realities, but courts must
also deal with such issues as an attorney’s expressed
need for the appropriate information to conduct
effective cross-examination. Morel cited Michigan
laws on protective orders as another example (2009):
“For instance, the State of Michigan issued court rules
MCR 2.302(8) regarding Protective Orders, which
states ‘a trade secret or other confidential research,
development, or commercial information not be dis-
closed or be disclosed only in a designated way,” (p.
641). He goes on to cite that Michigan (2009):
“provides for an award of expenses incurred if a
motion for a protective order is denied in whole or
in part.” (p. 641) Thus, it would appear that
Michigan recognizes, and we assert, that protection
against undermining the integrity of the foundation
of the assessment through motion practices process
can be inadequate.

Some compromised evaluators will, and have,
manipulated the assessment environment too by cre-
ating a stressful and/or non-standardized assessment
situation. We have heard of, and know of, unin-
formed professionals who have: Placed a client/patient
in testing environments such as a narrow hallway
near a bathroom to complete inventories and/or tests,
have seated a client/patient in the lobby with several
other client/patients with disquieting music, or have
used other such stressful non-standardized adminis-
tration circumstances. Some uninformed professionals
and compromised evaluators will simply leave meas-
ures such as the MMPI-2, or the like, at a jail for the
defendant to complete. In such cases, it has been
reported by jail staff that the response profile was a
consensus piece created by those in the defendant's
cellblock. Manipulations also include more subtle
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violations of standardized procedures, such as an
evaluator sitting in such close proximity to a client/-
patient that they can see the answers in order to

entice better performance in an injury case. All of

these are real-world examples from our own experi-
ences, with cases that we have worked on and/or
with,

Observe the following example. A client/patient
seeking an evaluation to return to flying consults
with an attorney, who reveals the tests to be taken
and states that they are “prepping” the client/patient
for the exam. The client/patient studies the materials
and the answers. The client/patient then goes to the
pilot examination with the Federal Aviation
Administration, which involves psychological and
neuropsychological assessment. As the client/patient
has studied the material and answers, they pass the
examination. However, even though the client/patient
passes, they still have a drug and alcohol problem.
The client/patient continues to fly and, one day after
drinking prior to flying, crashes the airplane, killing
the client/patient and others. This is not a far-fetched
example.

D. The often-proposed solution to some of these situa-
tions is for the procedure to be videotaped. However,
this video recording will, more than likely, have test
raw data, evaluation procedures, and copywritten
materials evident in the assessment process. Both the
American Board of Professional Neuropsychology
(ABN) and NAN have made clear statements against
such practices (Axelrod et al, 2000; Lewandowski
et al, 2016). As such, if this remedy is pressed, the
video recording should be proactively delineated

under a protective order limiting either the scope of

the recording to aspects of the assessment that do not
involve test raw data or protocol queries. Another
possibility is that access should be limited to a duly
credentialed evaluator, and specify that the recording
be returned to the original evaluator and/or
destroyed. Again, this path is fraught (Morel, 2009),
and we recommend following the advisories of ABN
and NAN (Axelrod et al, 2000; Lewandowski et al.,
2016). Further, we fully agree that “secretively record-
ing” such sessions is an unacceptable practice (Bush,
et al., 2009).

E. To be clear, the concerns here are not only the mis-
use of test raw data and test materials, and the cor-
ruption of the psychological assessment process, but
confusing and/or misleading both the court and the
jury about the scientific integrity of the material.
Kaufmann (2009) had anticipated such contingencies
and provided cogent guidance that is worth revisiting
here on the use of protective orders:

Although these orders are of unknown effectiveness, they may be
the only means by which a psychologist may raise the issue of test
security with the court. Negotiations among the parties regarding
the content, scope, monitoring, and enforcement of the order may
provide an avenue for the court to understand the true risks of test
disclosure and to fully appreciate the fallacy of such protective

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directives as applied to test materials. Some judges may hear the
ensuing discussion and decide they would like to review the
materials in question “off the record” in chambers. Psychologists
should seize such opportunities to educate the court about
psychological tests and the importance of test security, as the
Court conducts an in camera review (p. 1147)

The discussion thus far suggests potential interactions
that involve a professional, even-handed process for
both the client/patient evaluated and the evaluator who
has conducted the assessment. It would be ideal if such
a proactive, above board, and collegial—professional
exchange spoke to the majority of situations in which
test raw data is disclosed. Unfortunately, as we have dis-
cussed, such amicable professional interactions are not
always possible. The literature (Bush & Morgan, 2017;
Kaufmann, 2009; Morel, 2009), our collective experi-
ence, and discussions we have had with colleagues, indi-
cate that there are a number of exceptions to this kind
of collegial scientific interaction. To address these more
adversarial situations and problems that may arise,
examples and suggested processes will be offered, espe-
cially in light of the fine work by Kaufmann, and separ-
ately Morel, in 2009. Some of their suggestions will be
furthered here in the next several steps meant to
address aggressive and/or improper demands for test
raw data and/or test materials.

We begin with the question: What are evaluators to
make of another professional who does not have the
appropriate training, supervision, or experience to request
test raw data? We believe that professionals are certainly
entitled to ask for test raw data. But, as we have stated
earlier, the onus falls on evaluators to address and/or
describe the level of competence necessary within a par-
ticular assessment context. Further, to define a reason-
able release and what is an unreasonable request for
release and/or demand. Different basic clinical contexts
for such requests may involve academic, intellectual, or
personality assessment. In such instances, the guidance
supplied by the SPA (2006) would, more than likely, be
sufficient. However, what of the complexities involved
with neuropsychological and forensic assessment, or
with custody/parenting plan assessments? Each of these
processes requires years of practice beyond graduate
education (Ackerman, 2010; Division 40 of the
American Psychological Association, 1989; Heilbrun,
1992). Depending on the context of the assessment,
very different requirements apply when evaluating the
adequacy of credentials and the requestors’, evaluators’,
or professionals’ competence. Again, the onus falls on
evaluators in these situations to educate the parties
regarding what constitutes necessary credentials and
competence in the particular area of assessment.

Though there are a host of different possibilities,
these efforts may include collegial exchanges with
experts in different disciplines, administrators in health-
care organizations, attorneys, and courts. Again, to be
clear, with rare exception (Axelrod, 2014; Bush, 2018)
there is a distinct difference between test raw data, test
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materials, and other parts of, for example, a forensic
record, which Kaufmann (2009) has articulated:

The psychologist nondisclosure privilege only applies to a narrow
range of test materials and raw data generated on those materials,
which does not include many paper and electronic records. Patient
materials that are subject to release under discovery include, but are
not limited to, schedules, telephone messages, e-mails, calendars,
logs, invoices, billing information, insurance forms, letters, history
forms, generic symptom checklists, and reports. (p. 1141)

As described earlier, some professionals do not recognize
the conventions of collegiality or of those addressing test
raw data or test material. Thus, we have suggested brackets
on such processes that should be established at the outset
of the case, especially in forensic cases. The earlier the bet-
ter, and ideally before discovery. It is here, at the ground
level, where the assessment expert tends to win these battles
over the release of test raw data and test materials. While
the appellate process may hold out the promise of systemic
protection, it is important to appreciate for example that
there are fifty state appellate jurisdictions as well as the fed-
eral jurisdiction in the United States, and historically the
protection of psychological test raw data and materials has
not been a subject of frequent or consistent consideration
by appellate courts.

9. Despite the array of possible solutions discussed above,
one of the fundamental concerns that initiated this art-
icle was that there remain those who are simply bad
actors regardless of the lengths to which one might go
in offering reasonable and professional solutions.
Evaluators should, accordingly, learn to recognize how
those attorneys, uninformed professionals, and compro-
mised evaluators may use psychological assessments in
a way that devalues the legitimacy of the process. At
such times, it tends to become progressively apparent
that there is no negotiating with such professionals to
reach an amicable solution. Also, evaluators should be
aware that at times these professionals may also be per-
ipheral to the process of the psychological assessment,
and yet still be involved in an advisory or consultant
capacity. In turn, both ethical and well-meaning attor-
neys and evaluators should be prepared for the various
maneuvers discussed above in cases where psychological
assessments are challenged.

There are times when unscrupulous activities may
begin before the assessment session has even taken
place, with coaching of the claimant, defendant, cli-
ent/patient involved. Coaching, as one illustration, can
come from any number of different angles and involve
any one of the professionals described earlier, and
there may be other types of professionals involved.
Attorneys may legitimately prepare and instruct their
client/patient to: ‘be honest, to be themselves, and to
expect many questions.’ However illegitimate, or at the
very least questionable practices, involve professionals
describing test content, how to create a certain impres-
sion or profiles (Spengler et al., 2020), and even how
to answer questions or deny matters central to the

case, as in our impaired pilot example. There are ways
to deal with such maneuvers. A form that asks about
coaching may be presented beforehand. Performance
validity measures as well as symptom validity tests
may also be used (Harrison et al., 2021; Larrabee,
2012b; Ord et al., 2021).

Attorneys, for their part, are charged with the zeal-
ous advocacy of their client/patient’s case, but there
are reasonable limits here as well. For instance, a sub-
poena duces tecum should not be issued when there
have been no attempts to enter a legitimate discovery
process and/or engage in motion practices. While
Morel (2009) spoke to discovery, Kaufmann (2009) has
addressed unduly burdensome discovery demands, and
in one of his cases he writes: “I received a ‘Notice of
Deposition Duces Tecum’ from opposing counsel,
demanding that I produce 31 items.” (p. 1152). He
(2009) goes on to list some of those 31 demands:

« ”

2... your entire file, including but not limited to ...
“11, Any and all testing materials used in your evaluation ...
“14. Any and all scoring manuals used in your evaluation.”
(p. 1152)

wld

Unduly burdensome discovery demands, such as demands
for ail articles, books, and treatises relied upon by the evalu-
ator as part of a deposition process may be frequented upon
the examining psychologist as well. This observation is based
on the cumulative experience of these authors, our psycholo-
gist colleagues, and the illustration supplied by Kaufmann
above.

There are matters of duplicity, lack of good faith, or at times
outright ignorance on the part of some attorneys. Some are
simply unaware of the practical matters involved with psy-
chological assessment, others may have been misinformed
by uninformed professionals or compromised evaluators,
and still others may knowingly engage in unethical and
unprofessional practices.

Discussion, and areas of further study

Have we come to the point where public safety and confi-
dence are threatened to the degree that more uniform lan-
guage is necessary at federal and state levels? Language, that
outlines base levels of competence, such as, for example, the
aforementioned SPA’s Standards (2006). Further, addressing
evaluator competence and the interactions of, and permuta-
tions involved with, psychometric tests would ideally be
addressed in a paper expressly for that purpose. While test
vendors do have practice levels, this matter requires atten-
tion and perhaps being mindful of considerations such as
those herein, as well as the need for finer distinctions to be
made across assessment practices. Specializations provide
one example, which may also be represented by the board-
ing processes mentioned above (ABN, ABPP), and may
serve in a manner that protects the public. Even so, in

“Ves, Kaufmann did bold and italicize these excerpts and those below.
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forensic environments the courts and judges have wide dis-
cretion over whether to allow access to test raw data or test
materials. As stated earlier the debates involved with
motion practice implicitly favors attorneys seeking release
because arguments about the need for “evidentiary
ingredients,” like test raw data and test materials, will regu-
larly be described as necessary to conduct informed cross-
examinations. This is familiar territory to judges, and it is
consistent with their goal of ensuring procedural fairness
through the application of concepts like “due process,”
“accessibility,” and “transparency.” Additionally, judges,
especially at the trial level, focus on the case in front of
them rather than the larger concerns of the scientific enter-
prise and its integrity. Thus, the question becomes how to
even out the scales, in favor of scientific integrity, literally
the evidence presented to a court. The quality of the evi-
dence should be considered in proportion, and balanced
with, procedural fairness.

The matters in the paragraph above are only a handful of
threats to the integrity of psychological assessment. We have
been purposively broad in our treatment of the topic since
not just neuropsychological assessment is under threat, but
psychological assessment as a whole is at risk because incur-
sions into any one level of practice tends to imperil the
entire discipline. Our emphasis has been to maintain a
through line that addresses broad practice matters that
develop into to ever more specific concerns about the integ-
rity of assessment practice at more advanced levels. To that
end, this path had several crossroads with a number of dif-
ferent matters related to these threats that we have referred
to in this article. These are important in their own right and
further study is recommended.

The first matter is to assess the degree and magnitude of
potential incursions into psychological assessment by way of
matters such as: lowering thresholds for practice compe-
tence, federal or state laws that are either silent on test raw
data and materials, or laws, practices, that grant access in
ways that either potentially harm the public or violate copy-
right laws. We suggest studies that provide the field with a
report on the state of current affairs.

Second, we have discussed what constitutes test raw data
and test materials, but sometimes they are one-in-the-same.
The term “hybrid test raw data/materials” was suggested,
and these require special attention and management. An
entire paper may well be devoted to the topic, due to the
consequent need to address how these hybrid test raw data/-
materials are handled by ethics standards and addressed
through practice guidelines given their unique qualities.

Third, jurisdictional matters require both attention and
recognition in order to come to some reconciliation. It is
envisioned that such a review piece, or for that matter
separate pieces, would attend to international standards,
and to provincial/state criteria here in North America,
and across different disciplines as well. Regarding the lat-
ter, for example, the Standards that the SPA (2006) has
put forward provided a reasonable start for interdisciplin-
ary standards. But, what of practice matters beyond these
basics? Fundamentally, how is psychological assessment

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practice vetted and protected at a disciplinary/jurisdic-
tional level?

Fourth, there is a need to elaborate the variety of disci-
plines that practice psychological assessment such as clinical,
counseling and school psychology. But also, counselors, psy-
chiatrists, social workers, and perhaps others. To what
lengths do these disciplines go to protect the practice, the
test raw data and test materials, and thereby the public?
Similarly, how do these concerns apply to academic techni-
cians and psychometricians?

Fifth, how well do psychometric properties of tests align
with levels of practice, and the protected generation of com-
plex test raw data and test materials? Test vendors supply
their own qualifications levels, but is this sufficient and do
these distinctions adequately address the integrity needed for
psychological assessment’s future?

Sixth, it may be readily imagined how the studies above
may lend themselves to empirical and/or quantitative
descriptions of the matters discussed across this paper, and
such studies may well be very useful for addressing matters
in court, policy matters and scope of practice.

Seventh, it is recognized that malingering has received a
good deal of attention in the literature, and while we have
touched on coaching to some degree, work is needed in this
area. Such work could follow the recent publication by
Spengler and colleagues (2020) on attorneys coaching their
clients on the MMPI-2.

Eighth, while Kaufmann and Morel described the state of
case law in 2009, at this writing that was fourteen years ago.
It would be useful to have a study that compiles more recent
case law in a fashion that addresses threats to the integrity
of psychological assessment. Such a review may include how
test raw data and test materials are handled. Or, the issue of
transgressions may be addressed, via known board com-
plaints and case law involving the conduct of attorneys,
evaluators, and other professionals. Thus, how do boards or
courts manage the matters involved with attorneys who
have overstepped, uninformed professionals, and compro-
mised evaluators? Also, case law studies should include
when test vendors have filed suit to protect their proprietary
interests.

Setting aside these prospective studies, the matter remains
that some laws, end-user agreements, and ethical standards
are not enforced. The Rule of Law’* can be considered
when certain conventions in law repeatedly supersede those
that protect test raw data and test materials in court rulings.
Boards of those who practice psychological assessment can
take steps to prevent such disclosure, and laws can be writ-
ten to address it. But attorneys can also lend a hand, and we
suggest procedures to ensures methodological integrity when
a client/patient is prepared for a psychological assessment by
attorneys, including a list of “dos and don'ts," as well as the
continued use of embedded measures employed by evalua-
tors that will aide in identifying any such wrong doing
(Larrabee et al., 2019; Meyers et al., 2022). Mindful of the

Shttps://www.uscourts.gov/educational-resources/educational-activities/overview-
rule-law
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potential studies suggested above and their outcomes, pro-
ductive time may be spent developing ways of demonstrat-
ing instances of misuse and misconduct that rise to the level
of undermining both assessment and legal processes. Such
procedures could have a deterrent or even restitutive effect
on future cases and may exceed what can be accomplished
with board complaints, formal and informal appeals, as well
as lawsuits.

Licensing boards, federal, and state regulations, may fur-
ther put in place safeguards to make certain that public
safety and confidence may be enjoyed at a basic level des-
pite pressures for client/patient access to test raw data and
test materials that requires specialized graduate education to
appreciate fully. The burden should also be on attorneys
who want direct access to test raw data and test materials
to demonstrate appropriate and legitimate competence in the
practiced use of these materials. It is suggested that attorneys
ought to be able to demonstrate some proficiency in the use
of test raw data and test materials in proceedings. In 2009
Morel suggested two tables worth of guidelines (pp. 642-
643), and to our knowledge little national progress has been
made to advance these recommendations. Perhaps these dis-
ciplines have come to a point that a joint task force of the
American Bar Association, APA, NAN, and SPA could
develop such education.

Recognizing that there are natural limitations on written
works such as this, we are aware that there is much in this
paper that could be discussed further, and even so it cannot
be underscored enough that psychological assessments serve
a critical, even pivotal role in life-or-death decisions in peo-
ple’s lives that are reliant on its scientific integrity. Capital
murder cases, for example, may hinge on intellectual capa-
bilities and culpability (Atkins v. Virginia, 2002; Wood,
et al., 2014). Even in civil cases, a parent may or may not be
able to have their children in their home based on findings
from psychological assessments. An insured may have been
so badly injured that the insurance company will need to
financially address the realities of their injuries per findings
from a neuropsychological assessment. For these reasons,
and others, maintaining the integrity of psychological assess-
ment is a matter of public safety and there needs to be con-
fidence in the most basic elements of the assessment
process, its test raw data and test materials.

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ABHABMAABS&level=3 &haschildren=&populated=false&title=Chapter+
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2C+Social+Workerst+and+Chemical+ Dependency+Specialists&config=
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Appendix B: National Board of Forensic Evaluators
(NBFE) adopted position

As described earlier, it is relevant to the discussion about licensure and
specialization that this particular organization has adopted the following
position.

The National Board of Forensic Evaluators (NBFE) adopts the position
that appropriately trained licensed mental health counselors may adminis-
ter and interpret psychological tests, a viewpoint consistent with various
state licensure boards including Florida, the state the NBFE is headquar-
tered in, which declared that licensed mental health counselors, clinical
social workers, and marriage and family therapists “may administer and
interpret such tests as long as they have received the appropriate training,
and thus, are qualified to perform such procedures” (Susan J. Foster, per-
sonal communication, February 4, 2000).

To be a “Certified Forensic Mental Health Evaluator” per NBFE,
among other things (2023):

Laws, board rules, and other regulations vary state-by-state in the
United States as well as from nation to nation. Ultimately, it is the

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responsibility of the individual mental health professional to verify
that the ability to diagnose and treat, conduct particular types of
forensic mental health evaluations, and/or administer and interpret
specific tests and assessment tools is within the scope of practice of
his or her license in his or her state.

Further, the marker for conducting forensic work includes (NBFE,
2023): “...a minimum of forty (40) hours of forensic experience
and/or training.”

Appendix C: Vineland-3 normative samples

Demographic characteristics of the normative samples

The Vineland-3 norm samples were constructed to be representative of
the U.S. population in the age range covered by each form, according
to the most recent data available from the U.S. Census Bureau’s
American Community Survey 2014

For examinees 21 and older, the individual’s own education level
was used. Education level was coded as follows:'°

1= 0-12 years of school, no diploma
2 = high school diploma or equivalent
3 = some college or technical school, associate’s degree

4 = bachelor’s degree or more...

Appendix D: NCS Pearson, Inc., and University of
Minnesota, readout from an MMPI-2 protocol
conducted in 2021

Warning: This report contains copyrighted material and trade secrets.
The qualified licensee may excerpt portions of this output report, limited
to the minimum text necessary to accurately describe their significant core
conclusions, for incorporation into a written evaluation of the examinee,
in accordance with their profession’s citation standards, if any.

Appendix F: Daubert Standard’s basic elements

The Daubert Standard describes five basic criteria, which have been
winnowed down for the purposes of brevity (Rohling, et al., 2015):

Is the method well accepted in the scientific community?
Has the method been peer reviewed?

Has there been a method for controlling the method’s use?
Does it have an error rate?

Has the method been evaluated for scientific accuracy?

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Appendix G: Pearson assessments qualification’s
policy’”

Pearson is committed to maintaining professional standards in testing
as presented in the Standards for Educational and Psychological Testing
published by the American Educational Research Association (AERA),
American Psychological Association (APA), and the National Council
on Measurement in Education (NCME). A central principle of profes-
sional test use is that individuals should use only those tests for which
they have the appropriate training and expertise. Pearson supports this
principle by stating qualifications for the use of particular tests, and
selling tests to individuals who provide credentials that meet those

‘bid, directly preceding and the ratings below.

“See: https://www.pearsonassessments.com/professional-assessments/ordering/
how-to-order/qualifications/qualifications-policy.html#:~:text=A%20doctorate%
20degree%20in%20psychology,intended%20use%200f%20the% 20assessment.&
text=Licensure%200r%20certification%20to%20practice field%20related%20to%
20the%20purchase.
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qualifications. The policies that Pearson uses to comply with profes-
sional testing practices are described below.

Appendix H: Montana Board of Psychologists
Consumer Notice (retrieved 11.1.20): consumer
notice regarding psychological assessments

Psychologists licensed by the Montana Board of Psychologists may
wish to educate or inform the public with respect to what makes the
psychologist competent to conduct, interpret, and analyze a psycho-
logical assessment. This may be especially true in light of legislative
changes that allow certain licensees of other professions to hold them-
selves out as being qualified to engage in similar conduct. While
licensed psychologists are not prohibited from providing the public any
consumer notice that is accurate and appropriate, the following state-
ment, when taken in its entirety, has been expressly approved by the
Montana Board of Psychologists:

The Psychological Assessment you are about to review was pre-
pared by a psychologist duly licensed in Montana whose qualifications
were established by meeting all of the following requirements:

1. A doctorate degree in psychology from an accredited institution
with curriculum standards that meet the approval of the
American Psychological Association or similar curriculum guide-
lines established by the Montana Board of Psychologists;

2. Two years of supervised experience in the field of psychology
under the direction of qualified professionals (including a year of
residency training at the educational institution where the doc-
toral degree was awarded);

3. Examples of psychological work for analytical review by the
Montana Board of Psychologists;

4. A detailed and comprehensive application that must meet the
approval of the Montana Board of Psychologists;

5. A nationally standardized and administered written examination
specific to competency in psychological assessments; and

6. A rigorous oral examination administered by the Montana Board
of Psychologists, also focusing on the applicant’s competency in
psychological assessments.

Consumer Note: In Montana, only licensed psychologists are
required in this way to demonstrate their competence to conduct,
interpret, and analyze psychological assessments. Other professionals
describing their work as “psychological assessments” are not subject to
similar requirements to establish their qualifications.

Appendix |: Administrative rules of Montana,
practice of psychology (§24.189.2305 (9)'*) and
professional responsibility (§24.189.2309 (4)(f)'®)

ARM § 24.189.2305 (9)

Psychologists shall provide judges, attorneys, and other appropriate
parties with access to the results of the evaluation, but make reasonable
efforts to avoid the release of notes, test booklets, structured interview
protocols, and raw test data to persons untrained in their interpret-
ation. If legally required to release such information to untrained per-
sons, psychologists shall first offer alternative steps such as providing
the information in the form of a report, or releasing the information to
another psychologist who is qualified in the interpretation of the data
and who will discuss or provide written interpretations of the data
with the person(s) who are seeking the information.

ARM § 24.189.2309 (4)(f)

'8https://rules.mt.gov/gateway/RuleNo.asp?RN=24%2E 1 89%2E2305
https://rules.mt.gov/gateway/RuleNo.asp?RN=24%2E189%2E2309

... Shall refrain from releasing raw test results or raw data to per-
sons, other than to clients as appropriate, who are not qualified to use
such information.

Appendix J: Florida Administrative Code Section
64B19-18.004

Use of Test Instruments

1. The Board finds that the inappropriate use of test instruments is
harmful to consumers. The Board finds further that a need exists
to set out the minimum standard of professional practice main-
tained and required of psychologists who use test instruments in
the psychologist’s practice of psychology.

2. A psychologist who uses test instruments in the psychologist’s
practice of psychology:

a. Must consider whether research supports the underlying pre-
sumptions which govern the interpretive statements which
would be made by the test instrument as a result of its com-
pletion by any service user;

b. Must be able to justify the selection of any particular test
instrument for the particular service user who takes the test
at the instruction of the psychologist;

c. Must integrate and reconcile the interpretive statements
made by the test instrument based on group norms, with the
psychologist’s independent professional knowledge, evalu-
ation, and assessment of the individual who takes the test;

d. Must specify in the test report the name of each person who
assisted the psychologist in the administration of the test, and the
role which that person played in the administration of the test.

A psychologist who uses test instruments may not release test data, such as
test protocols, test questions, assessment-related notes, or written answer
sheets, except (1) to a licensed psychologist or school psychologist licensed
pursuant to Chapter 490, F.S., or Florida certified, or (2) after complying
with the procedures set forth in Rule 64B19-19.005, F.A.C., and obtaining
an order from a court or other tribunal of competent jurisdiction, or (3)
when the release of the material is otherwise required by law. When raw
test data is released pursuant to this paragraph, the psychologist shall cer-
tify to the service user or the service user’s designee that all raw test data
from those test instruments have been provided. Psychologists are
expected to make all reasonable efforts to maintain the integrity of the test
protocols, modalities and instruments when releasing information as pro-
vided herein.

In performing the functions listed at subsection (2) of this rule, the
psychologist must meet with the test subject face-to-face in a clin-
ical setting unless the psychologist has delegated the work to a
psychological intern, psychological trainee or psychological resi-
dent in a doctoral psychology program approved by the American
Psychological Association.

It shall be a violation of this rule for a psychologist to sign any evalu-
ation or assessment unless the psychologist has had an active role in
the evaluation or assessment of the subject as required by subsection
(4) of this rule. A psychologist may not sign any evaluation or assess-
ment that is signed by any other person unless the psychologist is
signing as a supervisor, in conjunction with an evaluation or assess-
ment performed by a psychological intern, psychological trainee or
psychological resident, or as a member of a multidisciplinary diag-
nostic team,

“Test instruments” are standardized procedures which purport to object-
ively measure personal characteristics such as intelligence, personality,
abilities, interests aptitudes, and neuropsychological functioning including
evaluation of mental capacity to manage one’s affairs and to participate
in legal proceedings. Examples of such tests include intelligence tests,
multiple aptitude batteries, tests of special aptitudes, achievement tests,
and personality tests concerned with measures of emotional and motiv-
ational functioning, interpersonal behavior, interests, attitudes and other
affective variables.
